                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION


 GOVERNMENT EMPLOYEES INSURANCE
 COMPANY, GEICO INDEMNITY COMPANY, GEICO
 GENERAL INSURANCE COMPANY, and GEICO                       Case No.: 3:23-cv-00590-FDW-SCR
 CASUALTY COMPANY,

                                     Plaintiffs,
                –against–


 APEX SPINE & ORTHOPAEDICS, PLLC, et al.,

                                     Defendants.

           STIPULATION OF DISMISSAL OF DEFENDANTS APEX SPINE &
               ORTHOPAEDICS, PLLC, AND ERIK T. BENDIKS, M.D.

       IT IS HEREBY STIPULATED AND AGREED by and between counsel for Plaintiffs

Government Employees Insurance Co., GEICO Indemnity Co., GEICO General Insurance

Company, and GEICO Casualty Co. (“Plaintiffs”), and Defendants Apex Spine & Orthopaedics,

PLLC. and Erik T. Bendiks, M.D. (the “Apex Defendants”) that all claims asserted by Plaintiffs

against the Apex Defendants in this action are dismissed, with prejudice and without costs,

pursuant to Fed. R. Civ. Proc. 41(a)(1).


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                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and exact copy of the foregoing
STIPULATION OF DISMISSAL OF DEFENDANTS APEX SPINE & ORTHOPAEDICS,
PLLC AND ERIK T. BENDIKS, M.D. has been served upon counsel for the parties in interest
herein by electronic mailing and/or ECF.


This 28th day of October, 2024.

                                     /s/ Christie M. Hayes
                                     Christie M. Hayes, N.C. State Bar No. 41770




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